                 IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
___________________________________
                                         )
LORI FREITAS and KAYLEE                  )
MCWILLIAMS individually and on           )
behalf of all others similarly situated, )
                                         ) Case No. 4:20-cv-01236-MWB
                     Plaintiffs,         )
                                         )
              v.                         )
                                         )
GEISINGER HEALTH PLAN and                )
SOCRATES, INC.,                          )
                                         )
                     Defendants.         )
___________________________________ )

 DEFENDANTS’ BRIEF IN SUPPORT OF THEIR MOTION TO DISMISS
      PLAINTIFFS’ AMENDED CLASS ACTION COMPLAINT


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                                        TABLE OF CONTENTS

                                                                                                                   Page

INTRODUCTION .....................................................................................................1

RELEVANT PROCEDURAL AND FACTUAL BACKGROUND ........................2

STATEMENT OF QUESTIONS INVOLVED.........................................................4

ARGUMENT .............................................................................................................5

         I.       Plaintiffs Are Not Entitled To Recover “Benefits Due” Because
                  Defendants Were Authorized To Assert Subrogation Claims
                  With Respect To Plaintiffs’ Tort Recoveries. .......................................5

                  A.       An Insurer With Subrogation Rights Steps Into The
                           Shoes Of An Insured And Acquires The Insured’s Rights
                           Against The Third-Party Tortfeasor. ..........................................5

                  B.       Geisinger Was Entitled To Assert Its Subrogation Claims
                           And Obtain Reimbursement For The Expenses It Paid On
                           Plaintiffs’ Behalf. ........................................................................7

                  C.       Plaintiffs Cannot Nullify Geisinger’s Subrogation Rights
                           By Designating Their Settlements As Precluding
                           Payment for Medical Damages. ................................................11

         II.      Plaintiffs’ Claims For Breach Of Fiduciary Duty (Counts 2, 3,
                  4, 6, 8, 9, And 12) Fail To The Extent They Are Based On The
                  Faulty Premise That Defendants Could Not Seek
                  Reimbursement Under Plaintiffs’ Respective Plans. ..........................13

         III.     Counts 5 And 11, Which Seek Relief On The Basis That
                  Defendants Did Not Act In Accordance With ERISA Common
                  Law, Should Be Dismissed Because Geisinger’s Right To
                  Recovery Is Governed By The Plans’ Unambiguous Written
                  Provisions. ...........................................................................................18

         IV.      Counts 6 And 12, Which Seek Relief On The Basis That
                  Defendants Did Not Follow Reasonable Claims Procedures,
                  Should Be Dismissed Because 29 U.S.C. § 1133 Does Not
                  Provide A Private Right Of Action. ....................................................19

                                                          -i-
         V.       Plaintiffs Are Not Entitled To Any Relief Under The “Common
                  Fund” Or “Make-Whole” Doctrines, Which They Rely Upon
                  Throughout Their Amended Complaint. .............................................20

                  A.       Plaintiffs Cannot Rely On Conclusory Allegations. .................20

                  B.       Plaintiffs Cannot Rely On The “Make Whole” Doctrine
                           To Defeat Defendants’ Subrogation Claims Because The
                           Amounts For Which Plaintiffs Settled Their Actions Are
                           Presumptively Commensurate With Their Losses. ..................21

CONCLUSION ........................................................................................................22




                                                        -ii-
                                    TABLE OF AUTHORITIES

                                                                                                        Page(s)

Cases
Am. States Ins. Co. v. Fletcher,
  591 N.E.2d 320 (Ohio App. 1990) ..................................................................... 12

Associated Hosp. Service of Philadelphia v. Pustilnik,
   396 A.2d 1332 (Pa. Super. Ct. 1979) .................................................................. 21

Bill Gray Enters. v. Gourley,
   248 F.3d 206 (3d Cir. 2001) ............................................................................... 19

Burstein v. Ret. Account Plan for Emps. of Allegheny Health Educ. &
  Research Found.,
  334 F.3d 365 (3d Cir. 2003) ............................................................................... 14

Chapman v. Klemick,
  750 F. Supp. 520 (S.D. Fla. 1990) ...................................................................... 18

Cohen v. Horizon Blue Cross Blue Shield of N.J.,
  Case No. 2:13-CV-03057,
  2013 U.S. Dist. LEXIS 153438 (D.N.J. Oct. 25, 2013) ..................................... 19

Electro-Mechanical Corp. v. Ogan,
   9 F.3d 445 (6th Cir. 1993) ................................................................................ 6, 9

Fireman’s Fund Ins. Co. v. TD Banknorth Ins. Agency, Inc.,
   72 A.3d 36 (Conn. 2013) ...................................................................................... 6

J.C. Penney Co. v. McNaul,
   Case No. 87-0565-CV-W-JWO,
   1988 U.S. Dist. LEXIS 8606 (W.D. Mo. July 22, 1988) ...............................9, 19

Medica, Inc. v. Atl. Mut. Ins. Co.,
  566 N.W. 2d 74 (Minn. 1997) .............................................................................. 6

Meinhardt v. Unisys Corp.,
  74 F.3d 420, 441 (3d Cir. 1996) ......................................................................... 14



                                                      - iii -
Minerley v. Aetna, Inc.,
  Case No. 13-1377,
  2019 U.S. Dist. LEXIS 107771 (D.N.J. June 27, 2019) ..................................... 17

Minerley v. Aetna, Inc.,
  801 F. App’x 861 (3d Cir. 2020) ........................................................................ 17

Newcomer v. Henkels & McCoy Inc.,
  Case No. 1:16-cv-2119,
  2017 U.S. Dist. LEXIS 120427, at *14 (M.D. Pa. Aug. 1, 2017) ...................... 14

Pegram v. Herdrich,
  530 U.S. 211 (2000) ......................................................................................14, 16

Prof’l Flooring Co. v. Bushar Corp.,
   152 A.3d 292 (Pa. Super. Ct. 2016) .................................................................... 22

Provident Life & Accident Ins. Co. v. Williams,
   858 F. Supp. 907 (W.D. Ark. 1994) ................................................................... 11

Rathbun v. Health Net of the Ne., Inc.,
   110 A.3d 304 (Conn. 2015) ................................................................................ 10

Ryan by Capria-Ryan v. Fed. Express Corp.,
  78 F.3d 123 (3d Cir. 1996) ................................................................................. 18

Santiago v. Warminster Twp.,
   629 F.3d 121 (3d Cir. 2010) ............................................................................... 20

U.S. Steel Homes Credit Corp. v. S. Shore Dev. Corp.,
   419 A.2d 785 (Pa. Super. Ct. 1980) .................................................................. 6, 8

U.S. v. CITGO Asphalt Ref. Co.,
   886 F.3d 291 (3d Cir. 2018) ................................................................................. 5

United Nat’l Ins. Co. v. M. London,
  23 Phila. 598, 605 (Phila. Super. Ct. 1992) .......................................................... 9

US Airways, Inc. v. McCutchen,
  569 U.S. 88 (2013) .............................................................................................. 17

Varity Corp. v. Howe,
  516 U.S. 489 (1996) ............................................................................................ 13

                                                        -iv-
Waller v. Hormel Foods Corp.,
  120 F.3d 138 (8th Cir. 1997) .............................................................................. 18

Wright v. Aetna Life Ins. Co.,
  110 F.3d 762 (11th Cir. 1997) ............................................................................ 12

Yonack v. Interstate Sec. Co.,
  217 F.2d 649 (5th Cir. 1954) ................................................................................ 7

Statutes
29 U.S.C. § 1001 ........................................................................................................ 1

29 U.S.C. § 1002(16)(B) ............................................................................................ 3

29 U.S.C. § 1104(a)(1) ............................................................................................. 13

29 U.S.C. § 1133 ..................................................................................................4, 19

Other Authorities
29 CFR § 2560.503-1 ............................................................................................... 19




                                                           -v-
                                 INTRODUCTION

      This action pertains to benefits claimed to be due under employee welfare

benefit plans governed by the Employee Retirement Income Security Act, 29

U.S.C. § 1001 et seq. (“ERISA”). The plans were issued by the Geisinger Health

Plan (“Geisinger”) to the respective employers of Lori Freitas and Kaylee

McWilliams (collectively, “Plaintiffs”). Geisinger paid medical benefits under the

plans for Plaintiffs’ personal injuries caused by third-party tortfeasors.

      Plaintiffs then each asserted and settled claims regarding their personal

injuries against the third-party tortfeasors. In conjunction with those settlements,

Geisinger—through a third-party service provider, additional Defendant

SCIOinspire Corp. f/k/a Socrates, Inc. (“SCIOinspire”)—asserted subrogation

claims to recover amounts associated with the medical expenses paid on Plaintiffs’

behalf. Plaintiffs admit that their plans contained subrogation provisions for the

benefit of Geisinger, which entitled Geisinger to “step into the shoes” of Plaintiffs

for purposes of recovery from the third-party tortfeasors. Plaintiffs nevertheless

initiated this action seeking to nullify Geisinger’s subrogation rights.

      The Amended Class Action Complaint fails to state a claim upon which

relief may be granted. Plaintiffs’ claims are predicated on the mistaken belief that

Geisinger unlawfully sought “reimbursement” with respect to Plaintiffs’

settlements with the third-party tortfeasors. Subrogation, however, is a broad right
grounded in equitable principles—it is not, as Plaintiffs posit, mutually exclusive

to reimbursement. Additionally, Plaintiffs were expressly prohibited by the

express terms of their respective plans from taking any action that would prejudice

Geisinger’s subrogation rights, including the release of their personal-injury

claims. Accordingly, Plaintiffs’ attempt to recover benefits and assert claims for

purported breaches of fiduciary duty fail as a matter of law.

        Plaintiffs also attempt to bootstrap other claims to their theory of liability,

including claims under federal common law and through regulations issued under

ERISA. None of these claims provide Plaintiffs with a basis of relief, especially

once the threshold subrogation issue is decided. Finally, Plaintiffs’ claims

regarding attorney fees and the “make whole” doctrine are either premised on

conclusory allegations or are contrary to well-established Pennsylvania precedent.

All Counts of this action should be dismissed.

        RELEVANT PROCEDURAL AND FACTUAL BACKGROUND

        Defendants’ Motion to Dismiss Plaintiffs’ Amended Class Action Complaint

[ECF 9] (“Motion”) outlines the relevant procedural and factual background. To

avoid unnecessary duplication, and for this Court’s convenience, Defendants

incorporate that background by reference and summarize the salient points below:

          Geisinger owns and operates a health maintenance organization
           (“HMO”) that arranges for specified health services to its members
           on a prepaid basis. Motion ¶ 5. It contracts with Pennsylvania
           employers to provide comprehensive medical care for their

                                           -2-
    employees. Motion ¶ 6. In many cases, the result is an employee
    welfare benefit plan governed by ERISA, with the employer
    serving as plan sponsor in accordance with 29 U.S.C.
    § 1002(16)(B). Id.

   SCIOinspire specializes in subrogation services. Motion ¶ 7.
    Geisinger contracts with SCIOinspire to enforce the subrogation
    provisions under its contracts with Pennsylvania employers. Id.

   Plaintiffs, Lori Freitas and Kaylee McWilliams, allege that they
    were each enrolled in employee welfare benefit plans that were
    provided by Geisinger and governed by ERISA. Motion ¶ 8.

   According to Plaintiffs, they each sustained personal injuries while
    enrolled in their respective welfare benefit plans. Motion ¶ 9.
    Plaintiffs contend that Geisinger paid Lori Freitas $17,590.83 as a
    result of her injuries, and that Geisinger paid Kaylee McWilliams
    $43,934.76 as a result of her injuries. Id.

   Plaintiffs admit that Geisinger paid the medical benefits that were
    associated with their personal injuries, and that Plaintiffs each
    subsequently asserted and settled claims against third-party
    tortfeasors for their personal injuries. Motion ¶ 12.

   Plaintiffs allege that the operative subrogation provision relevant to
    their respective claims states as follows:

              8.3 Subrogation. The Plan has the right of
              subrogation to the extent permitted by the law
              against third parties that are legally liable for the
              expenses paid by the Plan under this Certificate.
              The Member shall do nothing to prejudice the
              subrogation rights of the Plan. The Plan may
              recover benefits amounts paid under this certificate
              under the right of subrogation to the extent
              permitted by law.

    Motion ¶ 19.

   Plaintiffs allege that Defendants asserted claims against each of
    them, seeking to be “reimbursed” from the proceeds of Plaintiffs’

                                   -3-
           respective tort settlements as a result of the medical benefits that
           Geisinger had previously paid on Plaintiffs’ behalf. Motion ¶ 14.

                  STATEMENT OF QUESTIONS INVOLVED
      1.      Whether Plaintiffs can nullify Geisinger’s subrogation rights –

asserted in conjunction with settlements Plaintiffs entered into with their respective

third-party tortfeasors – where under the plans at issue (1) Geisinger was legally

and equitably permitted to assert subrogation claims related to Plaintiffs’ personal

injuries; and (2) Plaintiffs were prohibited from engaging in conduct that would

prejudice Geisinger’s subrogation rights.

      Suggested answer: No.

      2.      Whether Plaintiffs can assert claims for breach of fiduciary duty when

Defendants were authorized by the plans’ plain language to seek subrogation and,

as such, were under no obligation to act in the financial interests of Plaintiffs when

asserting such claims.

      Suggested answer: No.

      3.      Whether Plaintiffs’ can utilize federal common law to curtail

Geisinger’s subrogation rights where the plans’ subrogation provision is

unambiguous and Geisinger acted in accordance with the provision.

      Suggested answer: No.

      4.      Whether Plaintiffs’ can enforce ERISA claims procedure rules under

29 U.S.C. § 1133, where that provision does not contain a private cause of action.

                                          -4-
         Suggested answer: No.

         5.    Whether Plaintiffs can save their claims by parroting various legal

principles (e.g., the “common-fund” doctrine) without alleging any substantive

facts?

         Suggested answer: No.

         6.    Whether Plaintiffs can curtail Geisinger’s subrogation rights by

averring that their losses were higher than the amounts for which they chose to

settle their claims?

         Suggested answer: No.

                                      ARGUMENT

I.       Plaintiffs Are Not Entitled To Recover “Benefits Due” Because
         Defendants Were Authorized To Assert Subrogation Claims With
         Respect To Plaintiffs’ Tort Recoveries.
         In Counts 1 and 7, Plaintiffs seek to assert ERISA Section 502(a)(1)(B)

claims to recover “benefits due” and to “enforce [their] rights under the terms of

the plan.” Amended Class Action Complaint [ECF 7] (hereinafter, “Amended

Compl.”) ¶¶ 74, 214. Plaintiffs, however, cannot nullify their plans’ subrogation

provisions.

         A.    An Insurer With Subrogation Rights Steps Into The Shoes Of An
               Insured And Acquires The Insured’s Rights Against The Third-
               Party Tortfeasor.

         At its core, subrogation is a legal principle whereby a party is entitled to

enforce the legal rights of another party. U.S. v. CITGO Asphalt Ref. Co., 886 F.3d
                                            -5-
291, 309 (3d Cir. 2018). In the ERISA context, an insurer may assume the place of

a beneficiary to recover a loss—i.e., the amount the plan paid on the plan

beneficiary’s behalf to cover the beneficiary’s medical expenses. See Electro-

Mechanical Corp. v. Ogan, 9 F.3d 445 (6th Cir. 1993). Put another way, the

insurer is permitted to “step into the shoes” of a beneficiary and acquire the rights

that the beneficiary could have asserted against the third party, to the extent of the

payments made by the plan. See Medica, Inc. v. Atl. Mut. Ins. Co., 566 N.W. 2d 74

(Minn. 1997) (comparing the language of two policies, one with subrogation

language and one without).

      Courts routinely apply the doctrine of subrogation because, as a practical

matter, it places the ultimate burden of debt upon the individual who in good

conscience ought to pay it. See U.S. Steel Homes Credit Corp. v. S. Shore Dev.

Corp., 419 A.2d 785, 788 n.2 (Pa. Super. Ct. 1980). It acts as a legal fiction by

force of which an obligation extinguished by payment made by a third party is

considered as continuing to subsist for the benefit of that third person. Id.

“Subrogation further promotes equity by preventing an insured from receiving

more than full indemnification as a result of recovering from both the wrongdoer

and the insurer for the same loss, which would unjustly enrich the insured.”

Fireman’s Fund Ins. Co. v. TD Banknorth Ins. Agency, Inc., 72 A.3d 36, 40 (Conn.

2013) (citation and internal quotations omitted). “Being founded on principles of


                                         -6-
natural reason and justice . . . [subrogation] is a highly favored doctrine and one

which has been most liberally dealt with in the courts.” Yonack v. Interstate Sec.

Co., 217 F.2d 649, 651 (5th Cir. 1954).

      B.     Geisinger Was Entitled To Assert Its Subrogation Claims And
             Obtain Reimbursement For The Expenses It Paid On Plaintiffs’
             Behalf.

      Plaintiffs’ own allegations make clear that Geisinger was permitted to assert

its subrogation rights under the following provision in their respective plans:

             8.3 Subrogation. The Plan has the right of subrogation to
             the extent permitted by the law against third parties that
             are legally liable for the expenses paid by the Plan under
             this Certificate. The Member shall do nothing to prejudice
             the subrogation rights of the Plan. The Plan may recover
             benefits amounts paid under this certificate under the right
             of subrogation to the extent permitted by law.

Amended Compl. ¶ 32. Plaintiffs also admit that Geisinger paid medical expenses

on their behalf and that Plaintiffs subsequently settled their personal-injury claims

with the responsible tortfeasors. Amended Compl. ¶¶ 22, 29. Geisinger was, thus,

permitted under the express terms of Plaintiffs’ respective plans—and as a matter

of law and equity—to step into Plaintiffs’ shoes to recover from the third-party

tortfeasors the amounts that Geisinger had previously paid on Plaintiffs’ behalf.

Here, Plaintiffs had already settled with their respective tortfeasors. Motion ¶ 12.

Accordingly, Geisinger was forced to look to Plaintiffs for recovery of the amounts

paid to Plaintiffs by the third-party tortfeasors.


                                          -7-
      Through SCIOinspire, Geisinger asserted a claim to the proceeds from

settlements that were obtained by Plaintiffs from the third-party tortfeasors.

Amended Compl. ¶ 35. These settlements compensated Plaintiffs for their

personal-injury claims. Amended Compl. ¶¶ 22, 29 (“The insurer for the tortfeasor

did resolve, settle and make payment to [Plaintiffs] in compensation for the

personal injuries she sustained in the injury-causing event.”). Geisinger thus

sought to recover the expenses it had paid on Plaintiffs’ behalf regarding their

personal injuries in conjunction with Plaintiffs’ settlements of claims associated

with the very same personal injuries. So what is Plaintiffs’ issue?

      Plaintiffs do not allege that Geisinger or SCIOinspire sought to be paid any

monies from Plaintiffs personally. Nevertheless, Plaintiffs take issue with

Defendants’ actions, apparently, because the subrogation provision at issue refers

to “third parties,” whereas Plaintiffs contend that Defendants took an adverse

action against their tort recoveries. Amended Compl. ¶ 34. The disconnect here is

that Plaintiffs are assuming that the claims associated with their personal injuries

are exclusively their claims, which would make the proceeds resulting from a

settlement of those claims their proceeds. They are wrong.

      Applying the doctrine of subrogation, a portion of Plaintiffs’ right to

recovery was “extinguished by payment made by a third party”—that is, Geisinger.

See U.S. Steel Homes, 419 A.2d at 788 (citation omitted). When Plaintiffs brought


                                         -8-
their claims against the third-party tortfeasors, a portion of those claims was

“considered as continuing to subsist for the benefit of that third person.” Id.

Plaintiffs cannot escape this fact.

      Plaintiffs’ attempt to extinguish Geisinger’s subrogation rights by styling

Geisinger’s actions as for “reimbursement” misses the mark. As the terms

“subrogation” and “reimbursement” are often used interchangeably by courts and

practitioners, there is no bright-line rule separating the two doctrines. See, e.g.,

Electro-Mechanical Corp. v. Ogan, 9 F.3d 445, 446 (6th Cir. 1993) (affirming

grant of summary judgment holding that plan administrator could recoup

subrogation claim against the settlement proceeds of a medical malpractice action

brought by defendants); United Nat’l Ins. Co. v. M. London, 23 Phila. 598, 605

(Phila. Super. Ct. 1992) (“The doctrine of subrogation entitles an insurer to recover

the amount of insurance proceeds it has paid from any settlement fund or judgment

obtained by the insured from a third-party tortfeasor . . . [s]ubrogation rights rest

upon a long standing policy against double recovery.”).

      Indeed, principles of subrogation have been applied even where the plan’s

recovery rights against third-party sources can be supplied only by invoking

equitable principles of unjust enrichment, like where a plan did not contain a

conventional subrogation clause, but instead had only a “reimbursement” provision

that was found inapplicable. See J.C. Penney Co. v. McNaul, No. 87-0565-CV-W-


                                         -9-
JWO, 1988 U.S. Dist. LEXIS 8606 (W.D. Mo. July 22, 1988). In that instance,

recovery from the proceeds of a wrongful-death settlement was allowed

notwithstanding the absence of plan language expressly creating rights against

third-party sources. Id. Significantly, Plaintiffs have already conceded that

Geisinger has a contractual right to subrogation. Ultimately, Plaintiffs errantly

hang their hat on a perceived distinction between “subrogation” and

“reimbursement” which simply does not exist in the law.

      Significantly, at least one court has already squarely rejected Plaintiffs’

argument. In Connecticut, the Department of Social Services receives rights to

“subrogation” by operation of statute against third parties who are legally

responsible for the payment of the costs of medical care provided under the state

Medicaid program. See Rathbun v. Health Net of the Ne., Inc., 110 A.3d 304

(Conn. 2015). There, as here, plaintiff posited that the “department only [had] the

right to step into the recipient’s shoes and to initiate proceedings against persons

other than the recipient.” Id. at 311 (emphasis in original). Rejecting plaintiff’s

argument, the Connecticut Supreme Court examined numerous treatises discussing

the principles of subrogation and ultimately concluded that “[t]hese authorities

provide strong support for the conclusion that the right to subrogation conferred

. . . includes the right to seek reimbursement from a . . . recipient who has

recovered damages for medical costs from a third party.” Id. at 313 (emphasis


                                        - 10 -
added). For the same reasons, Plaintiffs’ efforts to distinguish subrogation from

reimbursement here are also unavailing.

      In fact, an “equitable right of reimbursement” is created in circumstances

“when an insured settles with a tortfeasor and thereby destroys the insurer’s

subrogation interest.” See Provident Life & Accident Ins. Co. v. Williams, 858 F.

Supp. 907, 912 (W.D. Ark. 1994). The contractual provision here provides even

more justification for such enforcement of Geisinger’s reimbursement right,

especially when considering that, even without such a provision, “equitable rights

of subrogation and reimbursement are frequently granted by the courts.” Id. At

bottom, Plaintiffs cannot escape the application of equitable principles expressly

created by contract.

      C.     Plaintiffs Cannot Nullify Geisinger’s Subrogation Rights By
             Designating Their Settlements As Precluding Payment for
             Medical Damages.

      As explained in Defendants’ Motion, Geisinger’s subrogation rights are not

tied to any affirmation on Plaintiffs’ part that their settlements encompassed

payment for medical expenses. See Motion ¶¶ 23-32. The key is that Plaintiffs

were settling the very claims that could have allowed for recovery of their medical

expenses.

      Geisinger’s subrogation provision is comprised of three sentences, each of

which confers a separate meaning. The first sentence clarifies when Geisinger can


                                        - 11 -
recover: “The Plan has the right of subrogation to the extent permitted by the law

against third parties that are legally liable for the expenses paid by the Plan under

this Certificate.” See Motion ¶ 25. This sentence indicates that Geisinger’s

subrogation rights are broadly construed and apply when there is a relationship

between the recovery at issue and the third party legally liable for the medical

expenses. Whether Plaintiffs self-report to have received payment for medical

expenses is beside the point. See Wright v. Aetna Life Ins. Co., 110 F.3d 762, 765

n.3 (11th Cir. 1997) (“Since [Defendant] was not a party to the settlement

agreement, that agreement’s purported allocation of damages does not govern the

district court’s determination . . . [t]o hold otherwise would allow [Plaintiff] and

the third party to control [Defendant’s] reimbursement rights.”)

      The conclusion that Plaintiffs cannot defeat Geisinger’s subrogation rights

by unilaterally settling claims is inescapable in light of the second sentence in the

subrogation provision: “The Member shall do nothing to prejudice the subrogation

rights of the Plan.” See Motion ¶ 26. Even if Plaintiffs could legally nullify

Geisinger’s subrogation rights, Geisinger could still assert a claim against Plaintiffs

for repayment in such circumstances. Cf. Am. States Ins. Co. v. Fletcher, 591

N.E.2d 320, 321 (Ohio Ct. App. 1990) (“. . . an insured may not settle with a

tortfeasor, giving a general release, and then collect medical expenses against his




                                        - 12 -
own insurer when there is a subrogation clause for such payments since, in so

doing, the insurer’s right of subrogation is destroyed.”).

      The ultimate issue is whether Plaintiffs have settled their claims for the

personal injuries associated with their medical expenses. And here, they have.

Accordingly, Counts 1 and 7 must be dismissed as a matter of law.

II.   Plaintiffs’ Claims For Breach Of Fiduciary Duty (Counts 2, 3, 4, 6, 8, 9,
      10, And 12) Fail To The Extent They Are Based On The Faulty Premise
      That Defendants Could Not Seek Reimbursement Under Plaintiffs’
      Respective Plans.

      The statutory basis for an ERISA breach of fiduciary duty claim is found

at 29 U.S.C. § 1104(a)(1). That provision specifies that “a fiduciary shall

discharge his duties with respect to a plan solely in the interest of the participants

and beneficiaries and . . . for the exclusive purpose of . . . providing benefits to

participants and their beneficiaries.” 29 U.S.C. § 1104(a)(1)(A)(i). Additionally, a

plan fiduciary must discharge duties “with the care, skill, prudence, and diligence

under the circumstances then prevailing that a prudent man acting in a like capacity

and familiar with such matters would use in the conduct of an enterprise of a like

character and with like aims.” 29 U.S.C. § 1104(a)(1)(B).

      As an initial matter, Section 502(a)(3) of ERISA, the vehicle for Plaintiffs’

breach of fiduciary duty claims, is a “general ‘catchall’ provision [that] . . . act[s]

as a safety net, offering appropriate equitable relief for injuries caused by

violations that § 502 does not elsewhere adequately remedy.” Varity Corp. v.

                                         - 13 -
Howe, 516 U.S. 489, 490 (1996). Therefore, the Supreme Court has indicated,

“where Congress elsewhere provided adequate relief for a beneficiary’s injury,

there will likely be no need for further equitable relief, in which case such relief

normally would not be appropriate.” Id. at 515. Here, because Plaintiffs’

“injuries” created causes of action under ERISA Section 502(a)(1)(B), Plaintiffs

cannot simultaneously pursue claims under ERISA Section 502(a)(3). See

Newcomer v. Henkels & McCoy, Inc., No. 1:16-cv-2119, 2017 U.S. Dist. LEXIS

120427, at *14 (M.D. Pa. Aug. 1, 2017) (dismissing Plaintiff’s ERISA Section

502(a)(3) claim as identical to his claim for benefits under Section 502(a)(1)(B)).

         Assuming that Plaintiffs could proceed on these two theories

simultaneously, which Defendants dispute, the Third Circuit has recognized the

following fiduciary duties:

           Duty of Loyalty (asserted in Counts 2, 8, 4 and 10): When acting
            in a fiduciary capacity, an administrator must act solely and
            exclusively in the interests of plan participants and beneficiaries.
            See Pegram v. Herdrich, 530 U.S. 211, 224 (2000).

           Duty to Disclose (asserted in Counts 3 and 9): When acting in a
            fiduciary capacity, an administrator must “convey complete and
            accurate information when it speaks to participants and
            beneficiaries regarding plan benefits.” Meinhardt v. Unisys Corp.
            (In re Unisys Sav. Plan Litig.), 74 F.3d 420, 441 (3d Cir. 1996).

           Duty to Avoid Misrepresentation (asserted in Counts 3 and 9):
            When acting in a fiduciary capacity, an administrator can be liable
            for a material misrepresentation if it is relied upon by plaintiff to
            his or her detriment. Burstein v. Ret. Account Plan for Emps. of


                                          - 14 -
          Allegheny Health Educ. & Research Found., 334 F.3d 365, 384
          (3d Cir. 2003).1

      While these fiduciary duties are conceptually distinct, Plaintiffs commit the

same fatal flaw each time they assert a claim for breach of fiduciary duty.

Plaintiffs start from the conclusion that Defendants were not authorized to pursue

claims of “reimbursement” following their respective settlements with the third-

party tortfeasors, and from there allege that Defendants breached their fiduciary

duties by seeking to be paid out of Plaintiffs’ respective tort settlements. See

Motion ¶¶ 37-38 (outlining Plaintiffs’ reliance on the faulty premise in each claim).

      As a threshold matter, however, Defendants were authorized by the plain

language in Plaintiffs’ respective plans to assert subrogation claims and,

accordingly, to make reimbursement demands regarding Plaintiffs’ settlement of

their tort claims. See supra, Section I. Plaintiffs’ position amounts to a contention

that an insurance company is prohibited from enforcing the terms of an insurance

policy if those terms have an adverse effect on the insured. According to the

Plaintiffs, insurance companies are prohibited from administering plans “in a way

favorable to themselves[.]” Amended Compl. ¶¶ 99, 239. As such, whenever




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      Plaintiffs’ further attempt to enforce ERISA’s claims management
      regulations in Counts 6 and 12. Such argument is addressed separately
      below. Plaintiffs there also allude to various fiduciary duties, making this
      section applicable to those Counts as well.

                                        - 15 -
presented with a choice as to “who would get money,” Amended Compl. ¶¶ 102,

242, insurance companies must each time choose their insureds. From an ERISA

perspective, the premise underlying Plaintiffs’ claims is that Defendants are plan

fiduciaries for all purposes in all contexts, and must accordingly act solely in

Plaintiffs’ economic interests, regardless of the governing policy’s terms, and

regardless of the context in which they are acting. Amended Compl. ¶¶ 102-104;

242-244. From this premise, Plaintiffs assert Defendants’ recovery of subrogation

amounted to a conflict of interest in breach of their fiduciary duties. Id.

      Plaintiffs’ position, boiled down, is that Defendants’ ERISA statutory duty

was to ignore, not enforce, the plans’ express subrogation terms, because those

terms were financially unfavorable to Plaintiffs. Notwithstanding the patent

absurdity of such position, Plaintiffs’ reasoning is further flawed in that

Defendants were not acting in a fiduciary capacity when enforcing Geisinger’s

subrogation rights.

      The Supreme Court dismissed similar claims in Pegram v. Herdrich, 530

U.S. 211 (2000), where a plaintiff alleged that an ERISA plan’s health insurer had

a conflict of interest when denying coverage for certain treatments, even though

the insurer’s actions were consistent with the terms of the plan policy. The

Supreme Court recognized that “under ERISA . . . a fiduciary may also have

financial interests adverse to beneficiaries.” Id. at 225. Indeed, allowing such


                                        - 16 -
claims to go forward would portend to “nothing less than elimination of the for-

profit HMO” where “[r]ecovery would be warranted simply upon showing that the

profit incentive . . . would generally affect . . . decisions, in derogation of the

fiduciary standard to act solely in the interest of the [beneficiary] without

possibility of conflict.” Id. at 232-33.

      Adhering to the terms of an ERISA plan is not a breach of fiduciary duty,

regardless of whether such adherence works to the financial detriment of a

participant. See US Airways, Inc. v. McCutchen, 569 U.S. 88 (2013) (holding that

employer was permitted to enforce the reimbursement provision in its plan, relying

on principle that the terms of the ERISA plan govern). In other words, “it cannot

be a breach of the fiduciary duty of loyalty for an insurance company to enforce

the terms of an insurance policy.” Minerley v. Aetna, Inc., No. 13-1377, 2019 U.S.

Dist. LEXIS 107771, at *26 (D.N.J. June 27, 2019). Significantly, the Third

Circuit has recently affirmed these principles. See Minerley v. Aetna, Inc., 801 F.

App’x 861, 866 (3d Cir. 2020) (“[Plaintiff] claims that the defendants breached a

duty of loyalty owed to him by seeking reimbursement, contrary to his interest as a

beneficiary of and participant in . . . [the] employee benefit plan. We are

unconvinced.”) Dismissal of Plaintiffs’ claims for breach of fiduciary duty here is

equally warranted.




                                           - 17 -
III.   Counts 5 And 11, Which Seek Relief On The Basis That Defendants Did
       Not Act In Accordance With ERISA Common Law, Should Be
       Dismissed Because Geisinger’s Right To Recovery Is Governed By The
       Plans’ Unambiguous Written Provisions.

       Geisinger’s rights as an insurer are governed by the terms of Plaintiffs’

respective plans, which grant Geisinger the right of subrogation and recovery “to

the extent permitted by law.” See Chapman v. Klemick, 750 F. Supp. 520, 523

(S.D. Fla. 1990). As the Third Circuit has made clear, “while ERISA was enacted

to provide security in employee benefits, it protects only those benefits provided in

the plan . . . ERISA mandates no minimum substantive content for employee

welfare benefit plans, and therefore a court has no authority to draft the substantive

content in such plans.” Ryan by Capria-Ryan v. Fed. Express Corp., 78 F.3d 123,

126 (3d Cir. 1996).

       Here, the grant of subrogation rights is clear and expansive in nature. See

Waller v. Hormel Foods Corp., 120 F.3d 138, 140 (8th Cir. 1997) (“[O]ne may

presume that this term [subrogation] does not have great currency among

laypersons, but this neither defeats reasonable expectations nor creates

ambiguity.”). And Plaintiffs themselves do not allege that the subrogation

provision is ambiguous or incomplete; as such, reliance on federal common law to

interpret the plans’ language is unnecessary. Indeed, the Third Circuit has been

hesitant to adopt federal common law to import any principles to limit a plan’s

subrogation right, and previously rejected application of the “make whole”

                                        - 18 -
doctrine because “importing federal common law doctrines to ERISA plan

interpretation is generally inappropriate, particularly when the terms of an ERISA

plan are clear and unambiguous.” Bill Gray Enters. v. Gourley, 248 F.3d 206, 220

n.13 (3d Cir. 2001).

      Additionally, even if recourse to common law were necessary, Plaintiffs

cannot ignore well-established Pennsylvania law in the hope that this Court will

craft more favorable federal common law. See J.C. Penney Co. v. McNaul, No.

87-0565-CV-W-JWO, 1988 U.S. Dist. LEXIS 8606, at *17 (W.D. Mo. July 22,

1988) (giving “appropriate deference to state law” in applying principles of

subrogation). And, as explained below, Pennsylvania common law does not entitle

Plaintiffs to any relief. Accordingly, Counts 6 and 13, seeking to apply federal

common law, must be dismissed as a matter of law.

IV.   Counts 6 And 12, Which Seek Relief On The Basis That Defendants Did
      Not Follow Reasonable Claims Procedures, Should Be Dismissed
      Because 29 U.S.C. § 1133 Does Not Provide A Private Right Of Action.
      As explained in Defendants’ Motion, Plaintiffs are essentially seeking in

Counts 6 and 12 to enforce the terms of 29 U.S.C. § 1133 and its implementing

regulations, which set forth the manner in which ERISA plans must adjudicate

participant claims and appeals. Amended Compl. ¶¶ 195, 335 (citing to 29 CFR

§ 2560.503-1(c)(2), (b)(5), and (f)). But there is no private cause of action to

enforce the provisions of 29 U.S.C. § 1133. See Cohen v. Horizon Blue Cross Blue


                                        - 19 -
Shield of N.J., Civil Action No. 2:13-CV-03057, 2013 U.S. Dist. LEXIS 153438, at

*25 (D.N.J. Oct. 25, 2013). Accordingly, Plaintiffs’ claims in Counts 6 and 12

must be dismissed.

V.     Plaintiffs Are Not Entitled To Any Relief Under The “Common Fund”
       Or “Make-Whole” Doctrines, Which They Rely Upon Throughout
       Their Amended Complaint.

       In a last-ditch effort to save their claims, Plaintiffs throughout their Class

Action Complaint make reference to legal principles in conclusory fashion.

Plaintiffs, for example, refer to the “make whole” doctrine in no less than 10 out of

12 causes of action. See, e.g., Amended Compl. ¶¶ 78, 106, 126, 150, 177, 218,

246, 266, 290, and 317. None of these legal principles, however, provide Plaintiffs

with a basis for relief.

       A.     Plaintiffs Cannot Rely On Conclusory Allegations.
       Conclusory allegations are entitled to no weight in deciding a motion to

dismiss. Santiago v. Warminster Twp., 629 F.3d 121, 131 (3d Cir. 2010). Here,

Plaintiffs boldly assert throughout their Amended Complaint—without any

elaboration or context—that Defendants improperly asserted reimbursement

demands: (1) without first reducing the demands by the pro-rata share attorney fees

and expenses that the class plaintiff insureds incurred in their underlying litigation

and (2) without having first made sure that the insureds were “made whole and

fully compensated.” See, e.g., Amended Compl. ¶¶ 47, 48. These conclusory


                                         - 20 -
allegations merely parrot various legal principles and provide no basis for

Plaintiffs’ recovery in this action.

      B.     Plaintiffs Cannot Rely On The “Make Whole” Doctrine To Defeat
             Defendants’ Subrogation Claims Because The Amounts For
             Which Plaintiffs Settled Their Actions Are Presumptively
             Commensurate With Their Losses.
      Finally, Plaintiffs assert that they must first be “made whole and fully

compensated for all of their damages and losses” before Geisinger can receive

payment on its subrogation claims. See, e.g., Amended Compl. ¶ 48. But under

long-standing Pennsylvania law, an insured cannot defeat a subrogation claim by,

on the one hand, agreeing to accept a certain amount as settlement for damages and

then, on the other hand, averring that losses were actually greater than the agreed

upon amount. See, e.g., Associated Hosp. Service of Philadelphia v. Pustilnik, 396

A.2d 1332, 1337-1338 (Pa. Super. Ct. 1979) vacated on other grounds, 439 A.2d

1149 (Pa. 1981) (“When a subrogor settles, he waives his right to a judicial

determination of his losses, and conclusively establishes the settlement amount as

full compensation for his damages.”).

      Plaintiffs here did not test out what their full loss was by pressing their suits

against the tortfeasors to verdict, and, therefore, cannot avail themselves of the

principle they seek to invoke. “It would never do in administering such an

equitable doctrine as subrogation to permit the insured to defeat recovery of any

sum from [her] by [her] insurer merely by making claim as to [her] total loss

                                        - 21 -
without having [her] loss ascertained.” Prof’l Flooring Co. v. Bushar Corp., 152

A.3d 292, 305 (Pa. Super. Ct. 2016) (citation and quotation marks omitted). As

such, Plaintiffs attempts to save their claims on this ground also fail.

                                   CONCLUSION

      For the foregoing reasons, Defendants’ Motion to Dismiss should be

granted.



Dated: October 8, 2020           Respectfully submitted,

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                                         - 22 -
         CERTIFICATE OF LOCAL RULE 7.8(B)(2) COMPLIANCE

      It is hereby certified that Defendant’s Brief in Support of its Motion to

Dismiss Plaintiffs’ Amended Class Action Complaint contains 4,918 words

(exclusive of tables of contents and authorities, signatures, and this certificate),

according to the word processing system used to prepare it, and that the brief

therefore complies with the Local Rule.

                                   /s/Thomas G. Collins
                          CERTIFICATE OF SERVICE

      I hereby certify that the foregoing was transmitted to the Court electronically

for filing and for electronic service upon the following attorneys of record this 8th

day of October, 2020:

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